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                                                                            2021 Apr-26 PM 02:51
                                                                            U.S. DISTRICT COURT
                                                                                N.D. OF ALABAMA


                   UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION

DESRICK WILLIAMS,

     Plaintiff,

v.                                        Case No. 2:18-cv-01351-CLM

INTERNATIONAL
MOULDING,

     Defendant.

                              FINAL ORDER

     In accordance with the Memorandum Opinion entered contemporaneously

herewith, Defendant International Moulding’s Motion for Summary Judgment

(doc. 45) is GRANTED.

     Costs are taxed as paid. The Court DIRECTS the Clerk to close this case.

     DONE and ORDERED this 26th day of April, 2021.




                                 _________________________________
                                 COREY L. MAZE
                                 UNITED STATES DISTRICT JUDGE
